Appellate Case: 11-2198      Document: 01018792492             Date Filed: 02/10/2012     Page: 1

                         UNITED STATES COURT OF APPEALS
                             FOR THE TENTH CIRCUIT
                              OFFICE OF THE CLERK
                                Byron White United States Courthouse
                                         1823 Stout Street
                                      Denver, Colorado 80257
                                          (303) 844-3157
 Elisabeth A. Shumaker                                                          Douglas E. Cressler
 Clerk of Court                        February 10, 2012                        Chief Deputy Clerk




 Jason Bowles
 B.J. Crow
 Monnica L. Garcia
 Bowles & Crow
 P.O. Box 25186
 Albuquerque, NM 87125-5186

 RE:       11-2198, United States v. Ahrensfield
           Dist/Ag docket: 1:09-CR-03457-JAP-1

 Dear Counsel:

 Appellant's brief is deficient because:

 There are no copies of pertinent written findings, conclusions, opinions or orders, nor
 transcript of oral findings, conclusions, opinions or orders. See 10th Cir. R. 28.2(A). The
 order(s) appealed must be submitted as an attachment to the brief. In matters seeking
 review of a BIA decision, the transcript of the immigration judge's ruling must be
 attached.

 You may correct the stated deficiency by one of the following methods:

     1. Filing a corrected brief with the clerk (filing constitutes submitting a corrected
        brief via the court's Electronic Case Filing system [ECF] and providing the clerk
        with seven hardcopies of the corrected brief).
     2. Filing a corrected brief via ECF and making arrangements with the clerk's office
        to have the deficient hardcopies of the brief picked up and returned at the party's
        expense so that it can be corrected and returned to the clerk. The court will not pay
        postage or other costs.
     3. File the omitted attachment with the clerk via ECF (use the event code "errata
        sheet filed") and file seven hardcopies of the omitted attachment(s) with the clerk.
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        The clerk will affix the omitted attachment(s) to the end of the brief. You do not
        need to refile the brief.

 A separate notice regarding an appendix has been issued. Please note that references to
 the record in the brief should be made in accordance with 10th Cir. R. 28. You may need
 to file a corrected brief with citations to the appendix included (rather than an errata to
 correct the deficiency referenced above).

 Corrections, however made, must be accompanied by proof of service on all other parties
 to the appeal.

 The time to file a response brief will run from the date of service of appellant's corrected
 brief and appendix.

 If you fail to correct the stated deficiencies within 10 days of the date of this letter, the
 deficient brief will not be filed. In addition, the appeal may be dismissed without further
 notice.

 Please contact this office if you have questions.

                                              Sincerely,



                                              Elisabeth A. Shumaker
                                              Clerk of the Court



 cc:       Gregory J. Fouratt
           Tara C. Neda



 EAS/sls




                                               2
